EXHIBIT A
FILED: NEW YORK COUNTY CLERK 06/01/2020 09:48 AM                                                                        INDEX NO. 652131/2020
NYSCEF DOC. NO. 1                                                                                                 RECEIVED NYSCEF: 06/01/2020




          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF New York
          Jessica Denson, Individually and on                                     Index No.
          behalf of All Others Similarly Situated

                                                      Plaintiff(s),


                                  -against-
                                                                                  Summons
          Donald J. Trump for President, Inc.



                                                                                  Date Index No. Purchased:             June 1, 2020
                                                    Defendant(s).

                    To the above named Defendant(s)
                     Donald J. Trump for President, Inc.
                     725 Fifth Avenue
                     New York, New York 10022

                 You are hereby summoned to answer the complaint in this action and to serve
          a copy of your answer, or, if the complaint is not served with this summons, to serve
          a notice of appearance, on the Plaintiff's attorney within 20 days after the service of
          this summons, exclusive of the day of service (or within 30 days after the service is
          complete if this summons is not personally delivered to you within the State of New
          York); and in case of your failure to appear or answer, judgment will be taken against
          you by default for the relief demanded in the complaint.

                The basis of venue is N.Y. CPLR §§ 503, 509                                 ,
          which is Defendant's principal office is located in the county and plaintiff designates this county.

          Dated:      New York, NY

                      June 1, 2020
                                                            Bowles & Johnson PLLC

                                                           by__________________________
                                                            David K. Bowles
                                                           Attorneys for Plaintiff
                                                            Jessica Denson

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                             SUPREME COURT OF THE STATE OF NEW YORK
                                      COUNTY OF NEW YORK



             JESSICA DENSON, Individually and on
             Behalf of All Others Similarly Situated,               Index No. _________________

                                    Plaintiff,
             v.

             DONALD J. TRUMP FOR PRESIDENT, INC.,                   CLASS-ACTION COMPLAINT
                              Defendant.




                         Plaintiff, by and through her undersigned counsel, in support of this class action

            alleges as follows:

                                                 INTRODUCTION

                  1.     Plaintiff Jessica Denson, on behalf of herself and all others similarly situated,

          brings this class-action complaint against Defendant Donald J. Trump for President, Inc. (the

          “Campaign”). This class action seeks a judgment declaring a form contract the Campaign

          routinely required employees, contractors, and volunteers to sign during the 2016 election cycle

          (the “Form NDA”) to be null, void, and unenforceable. The Form NDA contains two ill-defined

          and vastly overreaching provisions. One provision, the non-disclosure clause, prohibits

          individuals like Ms. Denson from ever disclosing any information “that Mr. Trump insists

          remain private.” The second provision, the non-disparagement clause, prevents them from ever

          “demean[ing] or disparag[ing] publicly” President Trump, any member of his family, and any of

          his or his family’s companies. These provisions, taken together, constitute the main objective of

          the Form NDA and render it unlawful under both state and federal law.




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                  2.      Many private employers ask employees to sign NDAs, and there is nothing

          unlawful in the abstract about the use of NDAs, including by political campaigns.

                  3.      The Form NDA drafted and imposed by the Campaign, however, is wildly broad,

          prohibiting a vast array of speech about a candidate for the highest office and the current

          President of the United States—forever. And the Campaign has repeatedly invoked its

          prohibitions in an effort to chill truthful political speech it dislikes.

                  4.      New York has never condoned such extraordinary restrictions on the speech of

          former employees, let alone independent contractors or third-party volunteers.

                  5.      NDAs that indefinitely and broadly ban speech about candidates for office and

          public officials violate both the First Amendment to the United States Constitution and Article I,

          Section 8 of the New York State Constitution. These constitutional protections of speech and

          press reflect “a profound national commitment to the principle that debate on public issues

          should be uninhibited, robust, and wide-open, and that it may well include vehement, caustic,

          and sometimes unpleasantly sharp attacks on government and public officials” (New York Times

          Co. v Sullivan, 376 US 254, 270 [1964]). “That is because ‘speech concerning public affairs is

          more than self-expression; it is the essence of self-government’” (Snyder v Phelps, 562 US 443,

          452 [2011] (quoting Garrison v Louisiana, 379 US 64, 74-75 [1964])), and “occupies the highest

          rung of the hierarchy of First Amendment values” (id. (quoting Connick v Myers, 461 US 138,

          145 [1983])). Unlimited nondisclosure and non-disparagement clauses like those in the Form

          NDA are anathema to our constitutionally protected rights of free speech and press and to the

          functioning of our democracy.

                  6.      Candidates for public office and public officials cannot silence former campaign

          workers forever. Former campaign workers have a right to criticize public officials and to




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          contribute to the public debate. That right can be limited only to protect truly sensitive

          information for reasonable time periods; it cannot be stripped away entirely by contract.

                                                       PARTIES

                 7.      Plaintiff Jessica Denson, the class representative, is a summa cum laude graduate

          of The George Washington University, an award-winning journalist, and a member of the Screen

          Actors Guild – American Federation of Television and Radio Artists with film and TV credits.

                 8.      As a journalism undergraduate in Washington, D.C., Ms. Denson was highly

          involved in political reporting. She created, anchored, and produced a weekly newsmagazine

          from the White House, interned at CNN’s “The Situation Room” and the D.C. bureau for Cox

          Communications, and interviewed numerous political figures.

                 9.      Ms. Denson is a resident of California.

                 10.     Defendant (referred to herein as the “Campaign,” as defined above) is the

          campaign organization that worked successfully for the election of Donald J. Trump as President

          of the United States in 2016, and on information and belief is the same organization currently

          campaigning for the reelection of President Trump.

                 11.     The Campaign is incorporated in the Commonwealth of Virginia, and has its

          principal place of business at 725 Fifth Avenue, New York, New York.

                                           JURISDICTION AND VENUE

                 12.     This Court has jurisdiction pursuant to N.Y. C.P.L.R. § 301.

                 13.     Venue is proper in this county pursuant to N.Y. C.P.L.R. § 503 and § 509.

                                            FACTUAL ALLEGATIONS

                 14.     On June 16, 2015, Donald Trump announced that he would run for President of

          the United States.




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                15.        The Campaign formally launched a little less than two weeks later, filing its

          Statement of Organization with the Federal Election Commission on June 29, 2015.

                16.        The Campaign successfully navigated the Republican primaries and, on July 16,

          2016, the Republican National Convention nominated Trump for President.

                A.         The Campaign Hired Ms. Denson As A National Phone Bank Administrator

                17.        In the summer of 2016, Ms. Denson was working as an actress, a career that

          predated her college education and which continued after college. She was a registered

          Republican who had supported Mitt Romney for President in 2012.

                18.        After Donald Trump was nominated as the GOP’s candidate for President,

          Ms. Denson applied to work for the Campaign.

                19.        On August 18, 2016, she was hired by the Campaign as a national phone bank

          administrator.

                20.        Ms. Denson’s initial role was to manage the national phone bank via its online

          platform; draft voter surveys; support and coordinate with local field offices and volunteers; and

          manage other tasks in the data department.

                21.        As a national phone bank administrator, Ms. Denson had no direct access to

          candidate Trump, strategic campaign documents, or generally to any other sensitive campaign

          information, other than a national supporter database.

                22.        On September 16, 2016, Ms. Denson was promoted to the role of Hispanic

          Engagement Director. In that role, she developed the Campaign’s Spanish-language digital ad

          campaign, advocated for certain human rights stances, created the Campaign’s Spanish

          campaign slogan, developed bilingual campaign literature, launched an official Spanish-




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           language Twitter account, supported Hispanic engagement events in target states, and liaised

           between the national campaign and ground efforts for Hispanic engagement.

                  B.      The Campaign Required Ms. Denson to Execute an Indefinite and Broad
                          Form NDA

                  23.     Despite initially hiring Ms. Denson to fill a relatively low-level role, the

          Campaign required her to execute a form contract (the “Form NDA”) containing ill-defined,

          expansive, and perpetual nondisclosure and non-disparagement clauses on August 18, 2016, four

          days prior to when she started work on August 22, 2016. A true and correct copy of the contract

          Ms. Denson was required to sign is attached as exhibit A.

                          The Nondisclosure Clause

                  24.     The nondisclosure clause provides that, “[d]uring the time of [her] service and at

          all times thereafter,” Ms. Denson may not disclose or assist others in disclosing “Confidential

          Information,” or use that information in any way detrimental to Mr. Trump, his family, or any of

          Mr. Trump’s or his family’s businesses (exhibit A, ¶ 1 (emphasis added)).

                  25.     The nondisclosure clause defines “Confidential Information” to include, without

          limitation:

                          any information with respect to the personal life, political affairs,
                          and/or business affairs of Mr. Trump or of any Family Member,
                          including but not limited to, the assets, investments, revenue,
                          expenses, taxes, financial statements, actual or prospective business
                          ventures, contracts, alliances, affiliations, relationships, affiliated
                          entities, bids, letters of intent, term sheets, decisions, strategies,
                          techniques, methods, projections, forecasts, customers, clients,
                          contacts, customer lists, contact lists, schedules, appointments,
                          meetings, conversations, notes, and other communications of Mr.
                          Trump, any Family Member, any Trump Company or any Family
                          Member Company.

          (Id. ¶ 6(a).)




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                  26.     The definition of “Confidential Information” does not stop there. It also includes

          “all information . . . of a private, proprietary or confidential nature that Mr. Trump insists remain

          private or confidential” (Id. (emphasis added)).

                  27.     The breadth and open-endedness of the nondisclosure clause leaves Ms. Denson

          with no way of knowing what qualifies as Confidential Information and what does not.

                          The Non-Disparagement Clause

                  28.     The non-disparagement clause provides that “[d]uring the term of [her] service

          and at all times thereafter,” Ms. Denson may not “demean or disparage publicly the Company,

          Mr. Trump, any Trump Company, any Family Member, or any Family Member Company or any

          asset any of the foregoing own, or product or service any of the foregoing offer” (Id. ¶ 2

          (emphasis added)).

                  29.     The contract defines “Family Member” as:

                          any member of Mr. Trump’s family, including, but not limited to,
                          Mr. Trump’s spouse, each of Mr. Trump’s children and
                          grandchildren and their respective spouses, including but not limited
                          to Donald J. Trump Jr., Eric F. Trump and Ivanka M. Trump,
                          Tiffany Trump, and Barron Trump, and their respective spouses,
                          children and grandchildren, if any, and Mr. Trump's siblings and
                          their respective spouses and children, if any.

          (Id. ¶ 6(b).)

                  30.     The contract defines “Trump Company” as “any entity, partnership, trust or

          organization that, in whole or in part, was created by or for the benefit of Mr. Trump or is

          controlled or owned by Mr. Trump,” and “Family Member Company” as “any entity,

          partnership, trust or organization that, in whole or in part, was created by or for the benefit of any

          Family Member or is controlled or owned by any Family Member” (Id. ¶¶ 6(c), 6(f)).




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                  31.     On information and belief, the terms “Trump Company” and “Family Member

          Company” encompass over 500 individual companies, only approximately half of which use the

          “Trump” branded name and none of which are specifically identified in the Campaign’s form

          contract.

                          Arbitration and Choice-of-Law Clauses

                  32.     The Campaign’s Form NDA also provides that “any dispute arising under or

          relating to this agreement may, at the sole discretion of each Trump Person, be submitted to

          binding arbitration” (Id. ¶ 8(b) (emphasis added)).

                  33.     “Trump Person” is defined as “each of Mr. Trump, each Family Member, each

          Trump Company (including but not limited to the Company) and each Family Member

          Company” (Id. ¶ 6(g)).

                  34.     The contract specifies that the “laws of the State of New York” are to govern any

          disputes related to the contract (Id. ¶ 8(a)).

                  C.      The Campaign Routinely Required Others to Execute the Form NDA

                  35.     Ms. Denson was not alone in executing a Form NDA.

                  36.     On information and belief, beginning in or about June 2015, the Campaign

          required all employees, contractors, and volunteers to sign the Form NDA or a version thereof. A

          true and correct copy of the Campaign’s standard Form NDA containing the nondisclosure and

          non-disparagement clauses is attached as exhibit B hereto.

                  37.     On information and belief, the Form NDA contracts required by the Campaign are

          substantially similar, if not identical, for the majority of the Campaign’s employees, contractors,

          and volunteers during the 2016 election cycle.




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                  38.    During the 2016 campaign, on information and belief, the Campaign had over one

          hundred employees and contractors on its payroll and hundreds more volunteers who each

          executed contracts containing the same restrictions as in the Form NDA signed by Ms. Denson.

                  D.     The Form NDA Continues to Restrict the Speech of Ms. Denson and Other
                         Former Campaign Employees, Contractors, and Volunteers On Matters of
                         Public Concern

                  39.    On November 8, 2016, Donald Trump was elected President of the United States.

                  40.    Ms. Denson’s tenure with the Campaign ended two days later on November 10,

          2016.

                  41.    Although Ms. Denson’s employment with the Campaign ended over three years

          ago, the Campaign’s indefinite and broad Form NDA purports to bind her to this day.

                  42.    Other former employees, contractors, and volunteers from the 2016 campaign

          likewise remain bound by the Campaign’s Form NDA.

                  43.    Under the non-disparagement clause, Ms. Denson and other former Campaign

          employees, contractors, and volunteers have been and remain prohibited from criticizing the

          current President of the United States.

                  44.    They are also prohibited from criticizing the President’s daughter and Advisor to

          the President, Ivanka Trump; the President’s son-in-law and Director of the White House Office

          of American Innovation, Jared Kushner; any of the President’s other family members; and any of

          the over 500 companies affiliated with the President and his family.

                  45.    Under the nondisclosure clause, Ms. Denson and other former Campaign

          employees, contractors, and volunteers have been and remain prohibited from disclosing any

          information President Trump may unilaterally and retroactively deem private.




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                  E.       The Campaign Routinely Threatens to Enforce and Takes Steps to Enforce
                           Its Unlawful Form NDA

                  46.      The Campaign has routinely threatened to enforce and/or initiated arbitration to

          enforce its Form NDA to stop former Campaign workers from engaging in speech related to

          matters of public concern, including their views on the President’s time in office.

                  47.      For example, when former Campaign staffer Omarosa Manigault Newman

          published a book about her time in the Trump White House (Unhinged: An Insider’s Account of

          the Trump White House) in August 2018, the Campaign sought to enforce its Form NDA against

          Newman in arbitration.1

                  48.      When former Campaign staffer Cliff Sims published a book about his experiences

          in the Trump White House (Team of Vipers) in January 2019, the Campaign’s Executive

          Director Michael Glassner threatened to enforce its Form NDA against Sims.2

                  49.      When former Campaign staffer Alva Johnson dropped her lawsuit alleging that

          President Trump forcibly kissed her in September 2019, the Campaign threatened legal action to

          enforce its Form NDA against Johnson.3




          1
            Scott Horsley, Trump Campaign Targets Omarosa Manigault Newman Over Tell-All Book, NPR [Aug. 14, 2018],
          https://www.npr.org/2018/08/14/638551941/trump-campaign-targets-omarosa-manigault-newman-over-tell-all-
          book.
          2
            Michael Glassner (@michaelglassner), Twitter [Jan. 29, 2019, 9:03 a.m.],
          https://twitter.com/michaelglassner/status/1090249001746747392; David Jackson, Donald Trump: Aide-Turned-
          Author Cliff Sims Violated Non-Disclosure Agreement, USA Today [Jan. 29, 2019],
          https://www.usatoday.com/story/news/politics/2019/01/29/donald-trump-cliff-sims-team-of-vipers/2708590002/.
          3
            Veronica Stracqualursi, Former Trump Campaign Staffer Drops Lawsuit but Stands by Claims He Forcibly Kissed
          Her, CNN [Sep. 5, 2019], https://www.cnn.com/2019/09/05/politics/alva-johnson-trump-lawsuit-sexual-assault-
          allegations/index.html.



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                  F.       The Campaign Attempted to Enforce Its Unlawful Form NDA Against Ms.
                           Denson

                  50.      The Campaign also attempted to enforce the Form NDA against Ms. Denson to

          stop her from speaking about working conditions at the Campaign, and specifically about her

          experience of sex discrimination as a campaign staffer.

                  51.      The issue of workplace conditions for political staffers is a matter of public

          concern that may bear on a candidate’s fitness for office. In the 2020 presidential campaign,

          news organizations have already covered allegations of harassment and other mistreatment of

          political staffers by at least four presidential candidates and their campaigns.4

                  52.      On November 9, 2017, Ms. Denson filed a pro se lawsuit against the Campaign in

          the New York Supreme Court, County of New York, captioned Jessica Denson v Donald J.

          Trump for President, Inc., Index No. 101616-17 (the “State Court Action”). In that still-pending

          lawsuit, Ms. Denson is asserting (now with counsel) claims of sex-discrimination and slander

          against the Campaign.

                  53.      On December 20, 2017, in response to the State Court Action, the Campaign filed

          an arbitration demand. The Campaign asserted that Ms. Denson breached the Form NDA’s

          “confidentiality and non-disparagement obligations” “by publishing certain confidential

          information and disparaging statements . . . in connection with [the] lawsuit she filed against [the

          Campaign] in New York Supreme Court.”



          4
            Matt Flegenheimer & Sydney Ember, How Amy Klobuchar Treats Her Staff, NY Times [Feb. 22, 2019],
          https://www.nytimes.com/2019/02/22/us/politics/amy-klobuchar-staff.html (Klobuchar); Alex Thompson, Warren
          Campaign Fires Senior Staffer for ‘Inappropriate Behavior’, Politico [Oct. 4, 2019],
          https://www.politico.com/news/2019/10/04/warren-staffer-inappropriate-behavior-campaign-2020-028583
          (Warren); Michael Cranish, Mike Bloomberg For Years Has Battled Women’s Allegations of Profane, Sexist
          Comments, Wash Post [updated Feb. 15, 2020], https://www.washingtonpost.com/graphics/2020/politics/michael-
          bloomberg-women/ (Bloomberg); Sydney Ember and Katie Benner, Sexism Claims From Bernie Sanders’s 2016
          Run: Paid Less, Treated Worse, NY Times [Jan. 2, 2019], https://www.nytimes.com/2019/01/02/us/politics/bernie-
          sanders-campaign-sexism.html (Sanders).


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                 54.     In March 2018, the Campaign moved the state court to compel arbitration of

          Ms. Denson’s claims, citing its unilateral authority to compel arbitration of disputes arising out

          of the contract.

                 55.     Ms. Denson did not participate in the arbitration demanded by the Campaign, on

          the ground that her contract did not govern her claims against the Campaign.

                 56.     In June 2018, Ms. Denson created a GoFundMe page so that she could find and

          finance legal representation. On her homepage, Ms. Denson summarized the allegations of her

          discrimination claim and the Campaign’s use of the Form NDA to retaliate against her, and

          asked for help paying for her legal efforts. She shared the GoFundMe page on a Twitter feed she

          had created for this purpose.

                 57.     On August 9, 2018, the state court denied the Campaign’s motion to compel

          arbitration of Ms. Denson’s state claims, holding that all of Ms. Denson’s claims, including her

          sex-discrimination, harassment, and common-law claims, were outside the scope of the Form

          NDA.

                 58.     In the midst of her State Court Action, Ms. Denson commenced another pro se

          lawsuit, this time in federal court in the Southern District of New York (Denson v Donald J.

          Trump for President, Inc. [SD NY, No. 18-CV-2690 (JMF)]). Through the federal lawsuit,

          Ms. Denson sought to have her contract declared void and unenforceable.

                 59.     The Campaign moved to compel arbitration of Ms. Denson’s federal claims, and

          on August 30, 2018, the federal court granted the Campaign’s motion (Id., 2018 WL 4568430,

          *2 [Aug. 8, 2018]). The federal court dismissed Ms. Denson’s federal lawsuit and later denied

          Ms. Denson’s Rule 60 motion for reconsideration.




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                    60.   During this time, the Campaign continued to press forward in the arbitration it had

          initiated on December 20, 2017, without Ms. Denson’s participation.

                    61.   No party in the arbitration ever argued or put at issue the validity of the

          Campaign’s Form NDA.

                    62.   Despite the fact that Ms. Denson never participated in that arbitration, the

          arbitrator issued a partial award to the Campaign on October 19, 2018, followed by a final award

          on December 12, 2018 (collectively, “the award”), totaling $49,507.64. A true and correct copy

          of the October 19, 2018, partial award is attached as exhibit C, and a true and correct copy of the

          December 12, 2018, final award is attached as exhibit D.

                    63.   The arbitrator concluded that Ms. Denson breached the contract “by disclosing,

          disseminating and publishing confidential information in the Federal Action, and by making

          disparaging statements about Claimant and the Agreement on the Internet on her GoFundMe

          page and on her Twitter account” (exhibit C at 4).

                    64.   The Campaign moved to have the award confirmed by the state and federal

          courts.

                    65.   On July 8, 2019, the state court confirmed the award, and on July 23, 2019, the

          federal court subsequently held that the state court’s affirmance was preclusive on the issue

          (Denson, 2019 WL 3302608, *2 [July 23, 2019]).

                    66.   Ms. Denson promptly appealed the state court’s affirmation.

                    67.   On February 6, 2020, the Appellate Division, First Department (“First

          Department”) unanimously reversed the decision affirming the Arbitration award and vacated the

          Arbitration award in its entirety. It declared the Arbitration award to have been against public

          policy and the arbitrator to have exceeded his authority (Denson v Donald J. Trump For




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          President, Inc., 180 AD3d 446, 454, 116 NYS3d 267, 276 [App Div 2020]). The Court further

          held that, “[b]y concluding that the allegations in the federal action are tantamount to disclosure

          of confidential information violative of the NDA, the arbitrator improperly punished plaintiff for

          availing herself of a judicial forum” (Id.).

                  68.      From the time the Campaign filed its Arbitration in December of 2017, Ms.

          Denson was forced into a defensive posture for having the temerity to challenge the Campaign’s

          conduct toward her. Until the arbitration award was reversed over two years later, she withstood

          constant financial threat and pressure to withdraw her claims due to the Campaign’s incessant

          pursuit and expansion of the Arbitration. During Ms. Denson’s appeal of the state court’s

          decision affirming the arbitration award, the Campaign attempted to execute on the award,

          serving subpoenas and restraining notices on Ms. Denson, her bank accounts, and sources of

          funding for her lawsuit. The Campaign even attempted to restrain Ms. Denson’s counsels’

          escrow account.

                  69.      During the entire period from December 2017 to February 2020, Ms. Denson

          perforce avoided or moderated any public comments regarding the Campaign and the President

          because of the threat caused by the Arbitration award and the Campaign’s aggressive efforts to

          enforce it. The Campaign used its litigation to enforce the Form NDA to restrain Ms. Denson’s

          freedom of speech during a period in which the public could have significantly benefited from

          her knowledge.5


          5
            For example, the primary subject of Ms. Denson’s harassment and sexual discrimination claims in her State Action
          is Camilo Sandoval, with whom Ms. Denson is all too familiar. Sandoval served as the Director of Data Operations
          for the Trump Campaign, and he was subsequently appointed as acting Chief Information Officer at the U.S.
          Department of Veterans Affairs (the “VA”) (see Letter from Sen. Richard Blumenthal, et al. to Thomas Bowman,
          Deputy Sec’y US Dept. of Veterans Affairs [May 5, 2018],
          https://www.blumenthal.senate.gov/imo/media/doc/05.15.18%20-%20VA%20-%20IT%20Systems.pdf). Sandoval’s
          work on the Campaign raised concerns, when it was revealed that he served as the Director of Data Operations
          during the period when the Campaign contracted with Cambridge Analytica (Id.). His stint as CIO at the VA was
          likewise marked by controversy, as the VA failed to timely deliver electronic housing allowance payments to more


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                   G.       Ms. Denson’s Class Arbitration Demand and The Campaign’s Consent to
                            this Litigation

                   70.      On February 20, 2019, after the federal court determined that Ms. Denson was

          required to challenge the Form NDA in Arbitration and before the state court ruled on the

          Campaign’s motion to affirm the arbitration award, Plaintiff submitted a class action arbitration

          demand (the “Class Arbitration”) before the American Arbitration Association (“AAA”) to

          arbitrate the validity of the Form NDA.

                   71.      The Campaign sought to delay the Class Arbitration by arguing res judicata and

          collateral estoppel from the Arbitration, and also by reserving decision on whether the claim

          should be arbitrated or litigated.

                   72.      On March 29, 2019, the Campaign applied to the original arbitrator, Judge Kehoe,

          to rule the new class action arbitration invalid on res judicata and collateral estoppel grounds,

          referring to the earlier Arbitration.

                   73.      The Campaign argued that vacatur of the original arbitration award, which

          Ms. Denson had not yet obtained, would be the only circumstance under which res judicata and

          collateral estoppel would not apply.

                   74.      On May 20, 2019, Judge Kehoe issued a decision determining that he had no

          jurisdiction to hear the Campaign’s application.

                   75.      On May 22, 2019, counsel for the Campaign cited the “sole discretion” clause in

          paragraph 8B of the Form NDA and “reserved its contractual right to not consent to the AAA’s




          than 10,000 veterans and experienced significant delays in digitizing health records (Id.; see also Christopher Jones,
          Farewell to the Trump Political Appointee Who Brought IT Chaos to the Department of Veterans Affairs, Pacific
          Standard [Feb. 19, 2019], https://psmag.com/social-justice/farewell-to-the-trump-political-appointee-who-brought-
          it-chaos-to-the-dept-of-veterans-affairs). Ms. Denson could have contributed significantly to the public debate
          around Sandoval’s work on the Campaign and his time in government.


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          jurisdiction” over the Class Arbitration. A true and correct copy of the email from counsel for the

          Campaign is attached as exhibit E.

                 76.     The following week, on May 29, 2019, counsel for the Campaign advised the

          AAA that “the Campaign d[id] not consent to the AAA’s jurisdiction over the [Class]

          Arbitration.” A true and correct copy of the email from counsel for the Campaign is included in

          exhibit E.

                 77.     On June 3, the Campaign filed a brief in the Federal Court litigation confirming

          its decision to exercise its unilateral right not to arbitrate Ms. Denson’s class claims. A true and

          correct copy of the Campaign’s brief is attached as exhibit F.

                 78.     Specifically, the Campaign explained,

                         Under the terms of the parties’ written agreement, . . . the
                         Campaign is afforded the discretionary right to arbitrate (or not
                         arbitrate) that class action before the AAA. The Campaign simply
                         exercised its election rights in this regard and notified the AAA. . .
                         . [I]f plaintiff wants to proceed with a class action lawsuit, she
                         must file her purported claims in court, rather than with the AAA
                         (exhibit F at 2 (emphasis added)).

                 79.     By refusing to consent to arbitrate Ms. Denson’s Class Arbitration Demand, the

          Campaign waived any right to arbitrate the current dispute, and Ms. Denson now proceeds before

          this Court, seeking a declaration that the Form NDA is invalid as a matter of law.

                 H.      The Campaign’s Form NDA Violates State and Federal Law

                 80.     Despite the Campaign’s strenuous efforts to enforce its Form NDA against

          Ms. Denson and others, the Form NDA’s broad and indefinite restrictions on Ms. Denson’s and

          others’ speech are unlawful under state and federal law.

                         Violation of the Constitutional Protections for Speech and Press

                 81.     The First Amendment to the United States Constitution and Article I, Section 8 of

          the New York Constitution protect the freedoms of speech and the press.


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                 82.     A major purpose of the First Amendment is “to protect the free discussion of

          governmental affairs,” including “discussions of candidates, . . . the manner in which

          government is operated or should be operated, and all such matters relating to political

          processes” (Mills v State of Alabama, 384 US 214, 218–19 [1966]).

                 83.     Speech concerning such public affairs “is the essence of self-government” and

          “occupies the highest rung of the hierarchy of First Amendment values” (Snyder v Phelps, 562

          US 443, 452 [2011] (quoting Garrison v Louisiana, 379 US 64, 74–75 [1964]; Connick v Myers,

          461 US 138, 145 [1983]).

                 84.     The constitutional protections of speech and the press accordingly limit states’

          power to sanction or enforce contracts of silence that restrict speech about public officials and

          candidates for office (see New York Times Co. v Sullivan, 376 US 254, 265 [1964] (“The test is

          not the form in which state power has been applied but, whatever the form, whether such power

          has in fact been exercised.”)).

                 85.     That is particularly true where, as here, contracts of silence are enforced by the

          political campaign of a current public official in conjunction with, and for the benefit of, the

          public official (see Manhattan Cmty. Access Corp. v Halleck, 587 US —, —, 139 S Ct 1921,

          1928 [2019] (“Under this Court’s cases, a private entity can qualify as a state actor . . . when the

          government acts jointly with the private entity.”)).

                 86.     Although campaign workers may waive their free speech rights by signing

          contracts containing nondisclosure and non-disparagement clauses, such a waiver is only

          enforceable if, under the circumstances, “the interest in enforcing the waiver is not outweighed

          by a relevant public policy that would be harmed by enforcement” (Overbey v Mayor of

          Baltimore, 930 F3d 215, 223 [4th Cir 2019]).




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                 87.     Any interest of the Campaign in enforcing its Form NDA is substantially

          outweighed by the public interest in the speech of Ms. Denson and other Campaign workers on

          matters of legitimate public concern.

                 88.     The Campaign has yet to demonstrate any legitimate reason for imposing on staff

          its broad, sweeping Form NDA with ill-defined and unlimited confidentiality and non-

          disparagement obligations.

                 89.     By contrast, the benefit to the public in allowing former campaign workers to

          speak about—and perhaps speak against—a candidate for the highest public office in the land is

          obvious and compelling. The First Amendment and Article I, Section 8 of the New York

          Constitution render the Form NDA unenforceable.

                         The Form NDA Is An Unreasonable Post-Employment Restrictive Covenant

                 90.     The Form NDA violates New York’s prohibition on unreasonable post-

          employment restrictive covenants.

                 91.     Post-employment restrictive covenants must be “reasonable in time and area,

          necessary to protect the employer’s legitimate interests, not harmful to the general public and not

          unreasonably burdensome to the employee” (Ashland Mgmt. Inc. v Altair Investments NA, LLC,

          59 AD3d 97, 101, 869 NYS2d 465 [App Div 2008] (quoting BDO Seidman v Hirshberg, 93

          NY2d 382, 388-89, 712 NE2d 1220 [Ct App 1999]), aff’d as modified, 14 NY3d 774, 925 NE2d

          581 [Ct App 2010]).

                 92.     Neither the nondisclosure clause nor the non-disparagement clause is reasonable

          in duration, as both purport to last forever (exhibit A, ¶¶ 1–2).

                 93.     Neither the nondisclosure clause or the non-disparagement clause is reasonable in

          scope. The nondisclosure clause expansively prohibits the disclosure of “all information . . . that




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          Mr. Trump insists remain private or confidential” (Id. ¶¶ 1, 6(a)). The non-disparagement clause

          prohibits signers in perpetuity from “demean[ing] or disparag[ing] publicly” President Trump,

          his family, or any of his and his family’s companies and assets (Id. ¶ 2).

                  94.    The Form NDA, as written, is not necessary to protect the Campaign’s legitimate

          interests.

                  95.    Regarding the nondisclosure clause, the Campaign may have had a legitimate

          interest in protecting confidential information that is akin to trade secrets, such as confidential

          “contact lists,” “notes,” and certain “financial statements” (Id. ¶ 6(a)). It does not have a

          legitimate interest in protecting “all information” that President Trump unilaterally “insists

          remain private or confidential,” for any reason or for no reason (Id.).

                  96.    Regarding the non-disparagement clause, the Campaign may have a legitimate

          interest in current employees not disparaging President Trump. It does not have a legitimate

          interest in prohibiting former employees from ever “demean[ing] or disparag[ing] publicly”

          President Trump, his family, or any of his and his family’s companies or assets (Id. ¶ 2).

                  97.    Both the nondisclosure clause and the non-disparagement clause are unreasonably

          burdensome on former campaign workers, as they severely restrict their ability to contribute to

          public debate on matters concerning the current President of the United States and various family

          members who serve as key advisors.

                  98.    The Campaign’s Form NDA also injures the public, as it prevents those with

          relevant information and informed opinions about the current President of the United States from

          sharing their experiences and views now, during this year’s presidential election, or ever.

                         The Form NDA Lacks the Requisite Definiteness Under New York Law

                  99.    The Form NDA is invalid due to the lack of sufficiently definite terms.




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                 100.    For a contract to be binding, “there must be a manifestation of mutual assent

          sufficiently definite to assure that the parties are truly in agreement with respect to all material

          terms” (e.g., Matter of Express Indus. & Terminal Corp. v New York State Dept. of Transp., 93

          NY2d 584, 589 [1999]). “Few principles are better settled in the law of contracts than the

          requirement of definiteness. If an agreement is not reasonably certain in its material terms, there

          can be no legally enforceable contract.” (Cobble Hill Nursing Home, Inc. v Henry & Warren

          Corp., 74 NY2d 475, 482, 548 NE2d 203 [Ct App 1989].)

                 101.    The nondisclosure clause prohibits signers from disclosing “Confidential

          Information,” defined to include “all information of a private, proprietary or confidential nature

          that Mr. Trump insists remain private or confidential” (Id. ¶ 6(a)).

                 102.    The non-disparagement clause, for its part, purports to protect over 500 individual

          companies, only approximately half of which use the “Trump” branded name and none of which

          are specifically identified in the Form NDA.

                 103.    It is impossible for any signatory to know what information may not be disclosed

          and which companies and persons the non-disparagement clause purports to protect.

                 104.    The Form NDA lacks the sufficient definiteness required of binding contracts.

                         The Form NDA Is Unconscionable Under New York Law

                 105.    The Form NDA is unconscionable on its face and therefore invalid.

                 106.    Contracts are unconscionable when there is a lack of a meaningful choice by one

          party and contractual terms that unreasonably favor the other party.

                 107.    Campaign workers in this case lacked a meaningful choice: if they wished to

          work for the Campaign, they were required to sign its Form NDA as written and imposed by the

          Campaign.




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                 108.    The one-sided terms of the Form NDA unreasonably favor the Campaign.

                 109.    The worker is forbidden from ever disparaging the Campaign, President Trump,

          his family, or any of President Trump and his family’s businesses, but the Campaign and the

          Trump entities are not forbidden from disparaging the worker (exhibit A, ¶ 2).

                 110.    The worker is forbidden from disclosing “Confidential Information,” which

          includes any information President Trump unilaterally deems private, but the Campaign is not

          forbidden from disclosing information about the worker (Id. ¶¶ 1, 6(a)).

                 111.    As described above in Paragraphs 50 through 79, the Campaign has gamed this

          unilateral, discretionary Form NDA by compelling Plaintiff to arbitrate when she sues, and

          refusing to arbitrate when she demands arbitration.

                 112.    In sum, the Form NDA is so one-sided in favor of the Campaign as to be

          unconscionable.

                         The Form NDA Is Otherwise Against Public Policy Under New York Law

                 113.    The Form NDA is invalid because it is otherwise against public policy.

                 114.    An otherwise valid contract is unenforceable when “the interest in its

          enforcement is clearly outweighed in the circumstances by a public policy against [its]

          enforcement” (Restatement [Second] of Contracts § 178).

                 115.    The non-disparagement and nondisclosure clauses are against public policy as

          unreasonable restrictions of Class members’ speech.

                 116.    New York maintains a deep and abiding commitment to robust public debate.

                         This State, a cultural center for the Nation, has long provided a
                         hospitable climate for the free exchange of ideas. That tradition is
                         embodied in the free speech guarantee of the New York State
                         Constitution, beginning with the ringing declaration that “[e]very
                         citizen may freely speak, write and publish . . . sentiments on all
                         subjects.” (N.Y. Const., art. I, § 8.) Those words, unchanged since



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                         the adoption of the constitutional provision in 1821, reflect the
                         deliberate choice of the New York State Constitutional Convention
                         not to follow the language of the First Amendment, ratified 30
                         years earlier, but instead to set forth our basic democratic ideal of
                         liberty of the press in strong affirmative terms.

          (Immuno AG. v Moor-Jankowski, 77 NY2d 235, 249 [1991]).

                 117.     The non-disparagement and nondisclosure clauses are also against public policy

          because the Campaign uses them to threaten to impose and actually to impose significant

          retaliatory financial penalties on individuals for asserting their statutory rights and disclosing

          wrongdoing.

                 118.     Federal, state, and local law prohibit employers from retaliating against

          employees for asserting statutory employment claims in court or before an administrative agency

          (see, e.g., 42 USC § 2000e–3(a); NY Exec. Law § 296(7); NYC Admin Code § 8–107(7)).

                 119.     As the First Department held in invalidating the Campaign’s arbitration award

          against Ms. Denson, “[t]here is a deep-rooted, long-standing public policy in favor of a person’s

          right to make statements during the course of court proceedings without penalty” (Denson, 116

          NYS3d at 276).

                 120.     In addition, contracts prohibiting employees from disclosing misconduct or

          wrongdoing to authorities are generally unenforceable (see Restatement [First] of Contracts

          § 548; 7 Samuel Williston & Richard A. Lord, A Treatise on the Law of Contracts § 15.8 [4th ed

          2016]; 6A Arthur Linton Corbin, Corbin on Contracts § 1430 [1962]; see also NY Lab Law §

          740; cf. Restatement [Third] Of Agency § 8.05, Comment c [2006]).

                 121.     The Form NDA, however, contains no exception allowing Campaign workers to

          vindicate their statutory employment rights in court or disclose misconduct or wrongdoing.

                 122.     The non-disparagement clause contains no carveout at all (exhibit A, ¶ 2).




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                 123.     The non-disclosure clause contains a narrow carveout that permits Campaign

          workers to disclose Confidential Information only when they have a “legal obligation” to do so

          and, even then, only after obtaining the Campaign’s consent (Id. ¶ 1(e)).

                 124.     Instead, the Campaign uses the Form NDA in an effort to prevent former

          Campaign workers from vindicating their rights or reporting wrongdoing.

                 125.     On February 27, 2019, Michael Cohen testified before Congress that the

          Campaign’s use of the Form NDA, along with President Trump’s efforts to enforce it, is

          specifically intended to prevent people from coming forward with claims of wrongdoing.

                 126.     For example, as set forth above, the Campaign threatened to enforce its Form

          NDA against former staffer Alva Johnson after she dropped her lawsuit alleging that President

          Trump forcibly kissed her in September 2019.

                 127.     The Campaign has also actually used, and will continue to use, the Form NDA to

          prevent former Campaign workers from vindicating their rights or reporting wrongdoing.

                 128.     For example, as set forth above, the Campaign used its Form NDA to retaliate

          against Ms. Denson for bringing the State Court Action to enforce her rights to be free of a

          discriminatory and hostile workplace.

                 129.     The Form NDA is invalid as a matter of law both because it unreasonably

          burdens Class members’ speech, and because it allows the Campaign to threaten to impose and

          actually impose significant financial penalties on individuals in retaliation for the assertion of

          their statutory rights and the disclosure of wrongdoing.

                                         CLASS ACTION ALLEGATIONS

                 130.    This action meets all of the requirements of a class action under CPLR § 901.




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                 131.    The putative Class consists of all Campaign employees, contractors, and

          volunteers who executed a Form NDA, or any contract containing similar nondisclosure and

          non-disparagement clauses, during the 2016 election cycle. This class is too numerous to allow

          joinder of all Class members to be practicable.

                 132.    Excluded from the Class is Defendant.

                 133.    While Plaintiff does not know the exact number of the members of the Class,

          Plaintiff believes that there are over one hundred members in the Class and likely several

          hundreds of members.

                 134.    The legal validity or invalidity of the Form NDA constitutes questions common to

          the Class, and predominates over any question affecting only individual members.

                 135.    The claim for a declaration of invalidity by the Plaintiff, as the Class

          representative, is typical of the claims of members of the Class. Plaintiff and all members of the

          Class are similarly affected by Defendant’s invalid and unlawful Form NDA.

                 136.    Plaintiff, as a class representative, will fairly and adequately protect the interests

          of the Class, as demonstrated by her tenacity in fighting this dispute in various forums over the

          last several years. Plaintiff’s claims arise out of the same common course of conduct giving rise

          to the claims of other members of the Class. Plaintiff’s interests are coincident with, and not

          antagonistic to, those of the other members of the Class. Plaintiff is represented by counsel who

          are competent and experienced in the prosecution of First Amendment and New York

          constitutional and contract claims.

                 137.    A class action is superior to any other method for the resolution of this dispute, in

          that, among other things, such treatment will permit a large number of similarly situated persons

          to prosecute their common claims in a single forum simultaneously, efficiently, and without the




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          unnecessary duplication of evidence, effort, and expense that numerous individual actions would

          engender. The benefits of proceeding through the class mechanism, including providing injured

          persons or entities with a method for obtaining redress for claims that might not be practicable to

          pursue individually, substantially outweigh any difficulties that may arise in the management of

          this class action.

                    138.   The prosecution of separate actions by individual members of the Class would

          create a risk of inconsistent or varying adjudications, establishing incompatible standards of

          conduct for Defendant.

                                             FIRST CAUSE OF ACTION
                                     Declaratory Judgment that the Campaign’s
                                    Form NDA Violates New York Contract Law

                    139.   Plaintiff incorporates by reference the preceding paragraphs as if fully set forth

          herein.

                    140.   New York law provides for declaratory judgment of the validity or invalidity of

          an agreement (CPLR § 3001).

                    141.   The Form NDA is unlawful under New York contract law for several reasons.

                    142.   The nondisclosure and non-disparagement clauses are unreasonable post-

          employment restrictive covenants. They are unreasonable in duration and scope. They are not

          necessary to protect the Campaign’s legitimate interests. They are unreasonably burdensome on

          Class members as they severely restrict their Class members’ state and federal constitutional

          rights to contribute to public debate on matters concerning the current President of the United

          States and various family members who serve as key advisors. And the nondisclosure and non-

          disparagement clauses injure the public, as they prevent Class members with relevant




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          information and informed opinions about the current President of the United States from sharing

          their experiences and views now, during this year’s presidential election, or ever.

                    143.   The nondisclosure and non-disparagement clauses lack sufficient definiteness, as

          it is impossible for any signatory to know what information may not be disclosed and which

          companies and persons the non-disparagement clause purports to protect.

                    144.   The nondisclosure and non-disparagement clauses are unconscionable, as Class

          members had no meaningful choice but to sign the contracts and the nondisclosure and non-

          disparagement clauses that unreasonably favor the Campaign.

                    145.   The nondisclosure and non-disparagement clauses are otherwise against public

          policy under New York contract law both because they unreasonably restrict Class members’

          speech, and because they allow the Campaign to threaten to impose and actually impose

          significant financial penalties on individuals in retaliation for the assertion of their statutory

          rights and the disclosure of wrongdoing.

                    146.   Ms. Denson and members of the putative class are harmed by the unlawful Form

          NDA, as they are currently unlawfully prohibited from exercising their free speech rights, as well

          as from reporting misconduct or asserting employment claims against the Campaign.

                    147.   Ms. Denson and members of the putative class face imminent risk if they

          disregard the Form NDA, as the Campaign routinely threatens and attempts to enforce its Form

          NDA.

                                            SECOND CAUSE OF ACTION
                               Declaratory Judgment that the Campaign’s Form NDA
                              Violates Article I, Section 8 of the New York Constitution

                    148.   Plaintiff incorporates by reference the preceding paragraphs as if fully set forth

          herein.



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                    149.   New York law provides for declaratory judgment of the validity or invalidity of

          an agreement (CPLR § 3001).

                    150.   Article I, Section 8 of the New York Constitution provides that “[e]very citizen

          may freely speak, write and publish his or her sentiments on all subjects, being responsible for

          the abuse of that right; and no law shall be passed to restrain or abridge the liberty of speech or

          of the press.”

                    151.   The non-disparagement clause of the Campaign’s Form NDA violates

          Ms. Denson’s and similarly situated individuals’ rights of free speech and of the press by

          unlawfully restraining them from ever again criticizing the current President of the United States,

          his family, and any of his and his family’s businesses.

                    152.   The nondisclosure clause of the Form NDA violates Ms. Denson’s and similarly

          situated individuals’ rights of free speech and of the press by unlawfully restraining their ability

          to share information on matters of legitimate public concern.

                    153.   The public interest in uninhibited, robust, and wide-open debate on matters of

          public concern, as well as the prohibition on government-sanctioned censorship of speech,

          outweighs any legitimate interest the Campaign has in enforcing the Form NDA.

                    154.   Ms. Denson and members of the putative class face imminent risk if they

          disregard the Form NDA, as the Campaign routinely threatens and attempts to enforce its Form

          NDA.

                                             THIRD CAUSE OF ACTION
                               Declaratory Judgment that the Campaign’s Form NDA
                               Violates the First Amendment to the U.S. Constitution

                    155.   Plaintiff incorporates by reference the preceding paragraphs as if fully set forth

          herein.



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                 156.    New York law provides for declaratory judgment of the validity or invalidity of

          an agreement (CPLR § 3001).

                 157.    The First Amendment to the United States prohibits abridgments of “the freedom

          of speech, or of the press.”

                 158.    The non-disparagement clause of the Campaign’s Form NDA violates

          Ms. Denson’s and similarly situated individuals’ rights of free speech and of the press by

          unlawfully restraining them from ever again criticizing the current President of the United States,

          his family, and any of his and his family’s businesses.

                 159.    The nondisclosure clause of the Form NDA violates Ms. Denson’s and similarly

          situated individuals’ rights of free speech and of the press by unlawfully restraining their ability

          to share information on matters of legitimate public concern.

                 160.    The public interest in uninhibited, robust, and wide-open debate on matters of

          public concern, as well as the prohibition on government-sanctioned censorship of speech,

          outweighs any legitimate interest the Campaign has in enforcing the Form NDA.

                 161.    Ms. Denson and members of the putative class face imminent risk if they

          disregard the Form NDA, as the Campaign routinely threatens and attempts to enforce its Form

          NDA.




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                                             RELIEF REQUESTED

          WHEREFORE, Plaintiff, on behalf of herself and the Class, prays for relief as follows:

                 A.     Designation of this action as a class action;

                 B.     Designation of Plaintiff as a representative Plaintiff of all employees, independent

                        contractors, and volunteers for the Campaign who have signed the Form NDA or

                        any contract containing similar nondisclosure and non-disparagement clauses;

                 C.     Declaratory judgment that the Campaign’s Form NDA, including the one signed

                        by Plaintiff, and any similar contracts the Campaign required any member of the

                        class to sign, are invalid and therefore unenforceable;

                 D.     Assessment of Plaintiff’s reasonable costs and attorneys’ fees, along with any

                        notice costs and forum fees against the Campaign in their entirety; and

                 E.     Such other relief as the Court deems just and equitable.


          Dated: New York, New York
                 June 1, 2020                          Respectfully Submitted,


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          *
            Harvard Law Student Graham Provost, ’21, helped prepare this complaint. The complaint does not purport to
          represent the institutional views, if any, of Harvard Law School.


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                       EXHIBIT A
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                                                                                                                       AGREEMENT


         You          have         requested                   that         the      entity            signing               below              (the          "Company")                             engage                   you            (as         an employee

         or      an     independent                        contractor,                      as        applicable)                      to     perform                    services,               or          an        independent                              contractor

         that     employs                 you        has         requested                     to be            engaged                by      Company                        to perform                     services                   and              you         desire           in

         your         capacity                as     an         employee                       of      such            independent                       contractor                       to     perform                     all        or         a part                of     such

         services.                 You          have            made              the          promises                   and        agreements                          set       forth         below                  in        order                to      induce             the

         Company                   to    accept                your          or      your             employer's,                        as applicable,                            offer         of         engagcmeñt                                 and          to     permit

         you,         in     the         applicable                     capacity,                     to        perform                all      or        a portion                       of     the          subject                    services.                            Those

         promises                 and     agreements                         are        part          of        what         the       Company                       is receiving                       in     exchange                            for        agreeing                to

         engage              you         or        your           employer,                         and         to       permit               you        to        perform                 all         or         a portion                        of         the         subject

         services,              and       the       Company                       is relying                    on     your         fulfillment                     of these               promises                     and            agreements.



         Any          initially           capitalized                       terms              that         are        not       defined                 when             used            in     this         agreement                                are     defined                in

         paragraph                 6 below.


                           1.                 No       Disclosure                         of        Confidential                       Information.                            During                the      term                of     your                 service            and

         at all       times         thereafter                   you         hereby                 promise                and         agree:



                                    a.        not         to     disclose,                  disseminate                        or      publish,                or        cause            to     be         disclosed,                        disseminated                           or

         published,                any        Confidential                          Information;


                                    b.        not          to          assist             others                  in       obtaining,                     disclosing,                           disseminating,                                     or          publishing
         Confidential                    Information;


                                    c.        not      to        use         any          Confidential                        Information                          in     any        way             detrimental                         to            the     Company,
         Mr.      Trump,                any        Family               Member,                      any         Trump              Company                        or any            Family                 Member                      Company;


                                    d.        not     to         save,            store         or memorialize                               any      Confidential                         Information                             (including,                           without

         limitation,                incorporating                            it     into             any          storage               device,                server,               Internet                  site            or        retrieval                       system,
         whether             electronic,                       cloud          based,                 mechanical                     or        otherwise)                      except             as may                  be         expressly                        required
         in connection                    with            the         performance                          of     services               to    the        Company;


                                   e.         to    (i)        provide               the         Company                     with            written               notice            of        any      legal                obligation                        to        disclose

         any      Confidential                      Information                         as soon                  as you             become               aware                of     such         obligation,                          (ii)            not      make             any
         disclosure                notwithstanding                                such           obligation                    until          the     Company                        (or       the      appropriate                               Trump                  Person)
         has      had        a reasonable                         opportunity                          to        seek        an        appropriate                       protective                     order                or        similar                 relief,           (iii)
         fully        cooperate                 and            join         with          the         Company                       (and        the       appropriate                           Trump                  Person)                     in        any          request
         for      a protective                      order              or         similar              relief,            (iv)          exercise                   all        reasonable                      efforts                  to          obtain                reliable
         assurance                that        confidential                        treatment                     will      be       accorded                   such            Confidential                        Information                                in the            event
         no      such        protective                     order            or         similar                 relief         is      obtained,                    whether                    because                  it        has             been          denied               or
         because             the        Company                   (or        the        appropriate                       Trump               Person)                   has        elected             not        to     seek               it,        and      (iv)          under
         all     circumstances,                           not         furnish              any          greater              portion                of    the            Confidential                         Information                                than            you      are
         advised             by          counsel                 is      absolutely                         legally               required                    to         be        disclosed                      by          you                 or         furnish             any
         Confidential                    Informãtion                         to     any             individúal,                  compåny                      or        governmental                          entity                other                thän            the     one
         to whom                or to which                     you         are      absolutely                        legally              required               to disclose                   it;        and



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                                        f.          promptly                      upon               the           request,                wheñêver                      made,                  of        the         Company,                          (i)        return           to     the

         Company                     all       Confidential                         Information                               furnished                  to you,              together                    with            all     copies,                abstracts,                  notes,

         reports,              or       other            materials                      furnished                       to,     or      otherwise                    obtained                       by,         you         or         prepared                    by      you        or     on

         your          behalf,                      without                  retaining                         copies,                 extracts                 or         other                    reproductions,                               whether                      physical,

         electronic,                    cloud               based            or     otherwise,                           in     whole            or       in      part,            (ii)        destroy                all        documents,                         memoranda,
         notes           or         other             writings                    prepared                         by         you       or       anyone                   on            your             behalf                 that        are          based                upon         the

         Confidential                          Information,                         and             (iii)          acknowledge                        such           destruction                          in writing                    to Company.



         The         foregoing                      provisions                      each               apply              to     Confidential                        Information                             and            disclosure,                       dissemination,

         publication,                          use           and             effort                 to         help             others               obtain,                  saving,                     storing                 and            memorializing                               of

         Confidential                          Information,                         as applicable,                              (i)     by       any         means                 of      expression,                          including                     but        not       limited
         to verbal,                 written,                 or    visual,                   (ii)        whether                or not              preserved                      in      any           medium                  now          known                     or hereafter

         discovered                       or        invented,                     including                        but         not      limited                to      audio                recording                       of        any        type,              written              text,

         drawing,                 photograph,                           film,            video,                or       electronic                  device,               (iii)           in        any      manner                    or form,                    including               but

         not         limited                   to     any              book,                 article,                memoir,                   diary,                letter,               essay,                speech,                    interview,                        panel          or

         roundtable                       discussion,                        image,                    drawing,                       cartoon,                 radio              broadcast,                         television                     broadcast,                      video,

         movie,                theatrical                      production,                                Internet                   website,                  e-mail,                     Twitter                   tweet,                 Facebook                          page,          or

         otherwise,                     even           if     fictionalized,                                (iv)         in    any         language,                     or        (v)         in     any            country                or      other               jurisdiction

         (collectively,                         the         "Restricted                         Means                    and          Contexts").



                            2.                      No        Disparagement.                                         During                the        term           of        your                 service               and          at     all        times             thereafter

         you         hereby                  promise                   and         agree                 not        to        demean                or      disparage                       publicly                   the         Company,                          Mr.           Trump,

         any     Trump                   Company,                           any      Family                    Member,                     or any              Family                   Member                   Company                         or any              asset          any      of
         the     foregoing                      own,              or product                         or      service                 any       of      the        foregoing                         offer,           in      each           case              by     or       in    any      of
         the     Restricted                         Means              and         Contexts                        and         to prevent                 your            einployees                         from               doing            so.


                            3.                      No        Competitive                                Services.                     Until          the       Non-Compete                                     Cutoff                 Date         you             promise                and
         agree           not         to        assist             or        counsel,                      directly               or        indirectly,                    for           compensation                               or       as          a volunteer,                       any
         person           that          is a candidate                             or        exploring                        candidacy                  for        President                       of    the         United                States             other           than        Mr.

         Trump            and           to prevent                      your            employees                             from         doing            so.


                            4.                      No        Competitive                              Solicitation.                         Until           the         Non-Solicitation                                       Cutoff             Date             you        promise
         and     agree              not         to hire                or    solicit                for        hiring,               or assist             any           other             person,               entity                or    organization                           to hire
         or    solicit            for         hiring,             any         person                   that          is an           independent                         contractor                       of,        employee                      of     an         independent
         contractor                    of,      or employee                             of      Company                        or any            other              Trump                  Person               and          who            at any             time            provides
         services                for         the       project                or        objective                        for         which            you           or        your             employer,                         as     applicable,                        are       being
         engaged.


                            5.                      No       Competitive                              Intellectual                      Property                    Claims.                    During                the        term          of        your            service            and
         at    all       times                 thereafter                    you              promise                   and   agree                      never                to          assert             any            rights            to         any            intellectual
                                                                                                                     "Trump,"
         property                that           (a)      includes                   the             name                                         (b)        is owned                       by        or      associated                      with              the        Company,
         Mr.         Trump,                  any         Trump                    Company,                          any         Family                 Member                      or          any        Family                  Member                       Company,                    for

         example,                   without                  limitation,                       any             name,             likeness,                  voice,              or         image                of        Mr.          Trump                  or        any        Family
         Member,                  or         any         Iogo,              motto               or          phrãse             creäted,               developed                           or        commonly                       associáted                        with          any       of

         them,         or        (c)         is developed                          in        connection                         with         the         project              or          objective                   for        which              your             services              are



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                                                                                                                                                                                       hire"
          being         engaged                    (all       of     which               will         be deemed                      a "work                 made           for                        or will            be assigned                  by     you       to

         us).


                          6.                        Defmitions.                          As       used            in this           agreement,                      the     following                       definitions                apply:


                                                                                                Information"
                                    a.              "Confidential                                                                        means              all      information                        (whether                or     not       embodied               in

         any       media)                 of         a private,                    proprietary                         or        confidential                      nature             or        that         Mr.          Trump              insists         remain

         private          or       confidential,                          including,                      but        not         limited            to,     any          information                        with      respect              to    the       personal

         life,     political                  affairs,               and/or              business                    affairs             of    Mr.         Trump                 or    of       any         Family              Member,                including
         but      not        limited                 to,      the        assets,            investments,                           revenue,                 expenses,                  taxes,               financial                statements,               actual
         or prospective                         business                   ventures,                      contracts,                alliances,                    affiliations,                  relationships,                       affiliated            entities,

         bids,          letters               of           intent,           term               sheets,                decisions,                     strategies,                     techniques,                      methods,                    projections,
         forecasts,                 customers,                           clients,               contacts,                    customer                     lists,         contact                lists,         schedules,                    appointments,

         meetings,                 conversations,                             notes,              and           other             communications                                 of    Mr.            Trump,              any         Family            Member,

         any      Trump                 Company                      or     any          Family                 Member                   Company.


                                                                           Member"
                                    b.          "Family                                                    means                  any         member                of    Mr.         Trump's                  family,               including,              but     not

         limited             to,         Mr.          Trump's                      spouse,                  each             of     Mr.             Trump's                children                    and          grandchildren                       and        their
         respective                 spouses,                      including                 but           not        limited              to    Donald                   J. Trump                    Jr.,    Eric         F.    Trump               and       Ivanka
         M.       Trump,                  Tiffany                    Trump,                 and             Barron                 Trump,                  and           their         respective                     spouses,                  children            and

         grandchildren,                         if        any,       and           Mr.        Trump's                    siblings              and         their         respective                    spouses             and         children,             if any.


                                                                                                          Company"
                                    c.          "Family                    Member                                                         means              any         entity,            partnership,                     trust         or organization

         that,      in whole                   or      in      part,        was           created                 by        or     for        the     benefit             of      any           Family              Member                 or    is controlled
         or owned                  by      any            Family             Member.


                                                                                                                                  Date"
                                    d.          "Non-Compete                                      Cut             Off                                means                the         date            the      current                U.S          presidential
         election             cycle            is over               or,      if     earlier,               the        date         Mr.         Trump                announces                       that      he     will           not     run       or will        no
         longer          run            for        the        Presidency                        of        the        United               States            of       America                    in     the         current            U.S.         presidential
         election            cycle.


                                                                                                                              Date"
                                    e.          "Non-Solicitation                                         Cutoff                               means               the     Non-Compete                               Cut       Off         Date.


                                                                            Company"
                                    f.          "Trump                                                          means               any         entity,             partnership,                       trust         or    organization                     that,       in
         whole          or     in part,                was           created              by         or     for        the        benefit            of     Mr.          Trump              or       is controlled                    or owned               by     Mr.
         Trump.


                                                                           Person"
                                    g.         "Trump                                                 means                  each         of        Mr.       Trump,                  each           Family               Member,                each        Trump
         Company                   (including                      but      not          limited                to the            Company)                    and         each         Family                 Member                 Company.


                         7.                    Remedies                      for         Breach                 of     this        Agreement.


                                    a.         Consent                    to Injunction.                             A      breach             of     any          of    your          promises                    or agreements                       under        this
         agreement                  will           cause             the      Company,                          Mr.          Trump                  and      each          other                                   Person            irreparable               harm.
                                                                                                                                                                                            Trump


         against         you            at law               or     in     equity,              you          hereby                consent                to the          entry            of    any         order,            without             prior       notice



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          to     you,       temporarily                             or       permanently                                 enjoining                   you         from        violating                    any           of      the         terms,              covenants,
          agreements                       or     provisions                           of        this         agreement                        on        your        part          to        be      performed                         or     observed.                      Such
          consent           is intended                           to     apply              to     an        injunction                       of     any     breach               or threatened                         breach.


                                      b.          Agreement                            to        Indemnify.                         You              hereby             agree           to        indemnify,                      defend                (with        counsel
          acceptable                  to        the          Trump                Person                you              are    defending)                       and       hold             harmless                 each              Trump                Person           from
          and       against                any          claim,               demand,                     suit,            proceeding,                       damages,                   cost,         loss          or        expense                of      any      kind        or
                                                                                                                                                         attorneys'
          nature,           including                        but         not       limited                    to         reasonable                                                fees            and         disbursements,                               incurred            by
          any       Trump               Person                    as        a consequence                                 of     your               breach           of     any          of        your            promises                  or        agreements                   in

          this     agreement.


                                      c.          Damages                         and            Other              Remedies.                            Notwithstanding                                                          to        the        contrary,             each
                                                                                                                                                                                                     anything
          Trump             Person                    will          be       entitled                   to         all        remedies                   available                at        law          and         equity,                including                but       not

          limited           to        monetary                         damages,                    in        the         event            of       your          breach           of        this         agreement.                     Nothing                   contained

          in     this     agreement                          will        constitute                     a waiver                    of        any        Trump            Person's                  remedies                    at law             or in          equity,       all

          of which               are        expressly                       reserved.



                                      d.          Third                  Party               Beneficiaries.                                        Mr.       Trump                 and             each             Family                   Member,                    Trump

          Company                  and           Family                  Member                     Company                         is an            intended             third         party             beneficiary                       of this           agreement.

          Without                limiting                    the         preceding                       sentence,                   Mr.              Trump,              each           Family                Member,                       Trump                Company
          and       Family              Member                         Company,                         in        addition               to the            Compañy,                     will        be        entitled             to the               benefit         of     this

          agreement                   and         to enforce                      this            agreement.



                           8.                     Resolution                       of        Disputes.



                                       a.         Governing                        Law;                 Jurisdiction                          and        Venue.             This            Agreement                        is deemed                      to have          been

          made           in the             State            of        New         York,                and              any     and           all       performance                        hereunder,                     breach             hereof,              or claims

          with          respect             to the             enforceability                                of     this        agreement                    must           be interpreted                           and          construed                   pursuant              to

          the      laws          of    the            State            of    New                 York             without                regard             to    conflict               of        laws        or         rules         applied               in the         State

          of     New           York.                  You              hereby                consent                     to    exclusive                   personal               jurisdiction                       and          venue                in    the     State          of

          New           York          with             respect               to    any             action                or proceeding                          brought             with            respect               to this            agreement.



                                       b.         Arbitration.                              Without                      limiting                  the     Company's                         or     any         other             Trump                 Person's             right

          to commence                            a lawsuit                   in    a court                   of      competent                       jurisdiction                  in       the      State           of New                  York,            any       dispute

                            under                or                               to        this        agreement                         may,            at the          sole         discretion                    of      each            Trump                Person,           be
          arising                                       relating
          submitted                   to        binding                  arbitration                         in     the        State               of New            York           pursuant                   to         the     rules            for       commercial

          arbitrations                      of        the           American                       Arbitration                           Association,                       and             you          hereby                 agree             to        and      will       not

          contest           such             submissions.                               Judgment                          upon           the         award         rendered                    by        an    arbitrator                    may            be entered               in

          any       court         having                 jurisdiction.


                                       c.         Prevailing                                            Fees.                 Any             court        judgment                    or      arbitration                      award              shall          include           an
                                                                                   Party
          award           of reasonable                                legal       fees            and            costs         to the               prevailing              party.



                                       d.         Interpretation                                 and          Representation                               by      Counsel.                       This         agreement                          has       been        drafted

          on       behalf             of        the          undersigned                                            as        a convenieñóe                          and          may             not,        by        reason               of     such           action,          be
                                                                                                   only
          construed                   against                 the           undersigned.                                 Each            of        the     parties          (i)        has         had         the        opportunity                        to    be       and/or



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         has      elected              not      to      be,        represented                       by      counsel,                     (ii)        has         reviewed                each           of     the        provisions                   in     this

         agreement                carefully                  and      (iii)        has          negotiated                   or      has           had        full        opportunity                     to    negotiate                  the      terms         of

         this       agreement,                  specifically                       including,                  but           not          limited              to     Paragraph                     7 hereof.                    You            waive          any
         claims           that         may             be         available                at        law         or         in      equity               to         the       effect              that         you         did         not        have         the

         opportunity               to        so consult                with          counsel.


                                  e.         No        Waiver.                Neither                  the     failure               or          delay        to      exercise               one         or     more            rights           under         this

         agreement                nor        the       partial             exercise               of       any        such           right,            will          be     deemed                 a renunciation                          or    waiver           of
         such         rights      or any              part         thereof           or affect,                  in    any          way,              this        agreement                  or any            part        hereof               or the       right

         to exercise              or further                     exercise            any         right         under               this          agreement                  or at law                  or in     equity.


                          9.                 Miscellaneous.                               Modifications.                             No           change              or     waiver               of     the     terms,               covenants                and
         provisions               of     this         agreement                    will         be     valid           unless               made             in      writing             and        signed            by        the        undersigned.

         Relationship.                        Nothing                 herein              contained                    is        intended                to,         nor       shall         it    be         construed                as,       reflecting
         any      employer-employee                                   or      independent                        contractor                       relationship                    between                 you        and         the       undersigned
         or any          other         individual                   or entity.              Counterparts.                                   This         agreement                     may          be executed                       in any        number
         of     counterparts,                   all     of        which        taken             together                   will          constitute                  one         and        same          instrument.                       Delivery             of
         an     executed               signature                  page        of     this        this        agreement                           by    facsimile                  transmission                       or    .pdf,           .jpeg,        .TIFF,
         or     other          electronic                   format             or         electronic                   mail               attachment                       will         be        effective                as     delivery                of      an

         original          executed                   counterparty                    hereof.


                          10.                Survival.                 This           agreement                       will          survive              the         expiration,                   cancellation                       or    termination
         of     any      employment                         or     independent                       contractor                     relationship                      that        you        may           have           with         the       Company
         or with          any      individual,                     entity,          partnership,                       trust         or organization                              that       the         Company                 has         engaged.


                                                                                                                             Donald                   J. Trump                 for       President




                                                                                                                             Name:                    LUCIA                CASTELLANO
                                                                                                                             Title:               HR DIRECTOR


                         JESSICA                   MARIE                   DENSON
                                                                                ACKNOWLEDGES                                                                           THAT                  SHE          HAS             READ                  AND
         UNDERSTOOD                                   THIS           AGREEMENT,     AND AGREES                                                                        TO COMPLY                                 WITH                  THE
         FOREGOING                            WHICH                      CREATES                           A VALID                         AND               BINDING                      LEGAL                   OBLIGATION                                   ON
         HER.


         Jessica         Ma        e            nson


         Signature:
         Name:           Jessi                  arie         Den
         Address:
                                 8306         Wilshire                Blvd.           #310

                                 Beverly               Hills,         CA           90211




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                                                  AGREEMENT

          You have requested that the entity signing below (the “Company”) engage you (as an employee,
          independent contractor, volunteer, or otherwise) to perform services, or an independent
          contractor that employs you has requested to be engaged by Company to perform services and
          you desire in your capacity as an employee of such independent contractor to perform all or a
          part of such services. You have made the promises and agreements set forth below in order to
          induce the Company to accept your or your employer’s, as applicable, offer of engagement and
          to permit you, in the applicable capacity, to perform all or a portion of the subject services.
          Those promises and agreements are part of what the Company is receiving in exchange for
          agreeing to engage you or your employer, and to permit you to perform all or a portion of the
          subject services, and the Company is relying on your fulfillment of these promises and
          agreements.

          Any initially capitalized terms that are not defined when used in this agreement are defined in
          paragraph 6 below.

                   1.     No Disclosure of Confidential Information. During the term of your service and
          at all times thereafter you hereby promise and agree:

                     a. not to disclose, disseminate or publish, or cause to be disclosed, disseminated or
          published, any Confidential Information;

                     b. not to assist others in obtaining, disclosing, disseminating, or publishing
          Confidential Information;

                   c. not to use any Confidential Information in any way detrimental to the Company,
          Mr. Trump, any Family Member, any Trump Company or any Family Member Company;

                      d. not to save, store or memorialize any Confidential Information (including, without
          limitation, incorporating it into any storage device, server, Internet site or retrieval system,
          whether electronic, cloud based, mechanical or otherwise) except as may be expressly required
          in connection with the performance of services to the Company;

                     e. to (i) provide the Company with written notice of any legal obligation to disclose
          any Confidential Information as soon as you become aware of such obligation, (ii) not make any
          disclosure notwithstanding such obligation until the Company (or the appropriate Trump Person)
          has had a reasonable opportunity to seek an appropriate protective order or similar relief, (iii)
          fully cooperate and join with the Company (and the appropriate Trump Person) in any request
          for a protective order or similar relief, (iv) exercise all reasonable efforts to obtain reliable
          assurance that confidential treatment will be accorded such Confidential Information in the event
          no such protective order or similar relief is obtained, whether because it has been denied or
          because the Company (or the appropriate Trump Person) has elected not to seek it, and (iv) under
          all circumstances, not furnish any greater portion of the Confidential Information than you are
          advised by counsel is absolutely legally required to be disclosed by you or furnish any


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          Confidential Information to any individual, company or governmental entity other than the one
          to whom or to which you are absolutely legally required to disclose it; and

                      f. promptly upon the request, whenever made, of the Company, (i) return to the
          Company all Confidential Information furnished to you, together with all copies, abstracts, notes,
          reports, or other materials furnished to, or otherwise obtained by, you or prepared by you or on
          your behalf, without retaining copies, extracts or other reproductions, whether physical,
          electronic, cloud based or otherwise, in whole or in part, (ii) destroy all documents, memoranda,
          notes or other writings prepared by you or anyone on your behalf that are based upon the
          Confidential Information, and (iii) acknowledge such destruction in writing to Company.

          The foregoing provisions each apply to Confidential Information and disclosure, dissemination,
          publication, use and effort to help others obtain, saving, storing and memorializing of
          Confidential Information, as applicable, (i) by any means of expression, including but not limited
          to verbal, written, or visual, (ii) whether or not preserved in any medium now known or hereafter
          discovered or invented, including but not limited to audio recording of any type, written text,
          drawing, photograph, film, video, or electronic device, (iii) in any manner or form, including but
          not limited to any book, article, memoir, diary, letter, essay, speech, interview, panel or
          roundtable discussion, image, drawing, cartoon, radio broadcast, television broadcast, video,
          movie, theatrical production, Internet website, e-mail, Twitter tweet, Facebook page, or
          otherwise, even if fictionalized, (iv) in any language, or (v) in any country or other jurisdiction
          (collectively, the “Restricted Means and Contexts”).

                  2.     No Disparagement. During the term of your service and at all times thereafter
          you hereby promise and agree not to demean or disparage publicly the Company, Mr. Trump,
          any Trump Company, any Family Member, or any Family Member Company or any asset any of
          the foregoing own, or product or service any of the foregoing offer, in each case by or in any of
          the Restricted Means and Contexts and to prevent your employees from doing so.

                 3.       No Competitive Services. Until the Non-Compete Cutoff Date you promise and
          agree not to assist or counsel, directly or indirectly, for compensation or as a volunteer, any
          person that is a candidate or exploring candidacy for President of the United States other than Mr.
          Trump and to prevent your employees from doing so.

                  4.       No Competitive Solicitation. Until the Non-Solicitation Cutoff Date you promise
          and agree not to hire or solicit for hiring, or assist any other person, entity or organization to hire
          or solicit for hiring, any person that is an independent contractor of, employee of an independent
          contractor of, or employee of Company or any other Trump Person and who at any time provides
          services for the project or objective for which you or your employer, as applicable, are being
          engaged.

                  5.     No Competitive Intellectual Property Claims. During the term of your service and
          at all times thereafter you promise and agree never to assert any rights to any intellectual
          property that (a) includes the name “Trump,” (b) is owned by or associated with the Company,
          Mr. Trump, any Trump Company, any Family Member or any Family Member Company, for
          example, without limitation, any name, likeness, voice, or image of Mr. Trump or any Family

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          Member, or any logo, motto or phrase created, developed or commonly associated with any of
          them, or (c) is developed in connection with the project or objective for which your services are
          being engaged (all of which will be deemed a “work made for hire” or will be assigned by you to
          us).

                  6.      Definitions. As used in this agreement, the following definitions apply:

                       a. “Confidential Information” means all information (whether or not embodied in
          any media) of a private, proprietary or confidential nature or that Mr. Trump insists remain
          private or confidential, including, but not limited to, any information with respect to the personal
          life, political affairs, and/or business affairs of Mr. Trump or of any Family Member, including
          but not limited to, the assets, investments, revenue, expenses, taxes, financial statements, actual
          or prospective business ventures, contracts, alliances, affiliations, relationships, affiliated entities,
          bids, letters of intent, term sheets, decisions, strategies, techniques, methods, projections,
          forecasts, customers, clients, contacts, customer lists, contact lists, schedules, appointments,
          meetings, conversations, notes, and other communications of Mr. Trump, any Family Member,
          any Trump Company or any Family Member Company.

                     b. “Family Member” means any member of Mr. Trump’s family, including, but not
          limited to, Mr. Trump’s spouse, each of Mr. Trump’s children and grandchildren and their
          respective spouses, including but not limited to Donald J. Trump Jr., Eric F. Trump and Ivanka
          M. Trump, Tiffany Trump, and Barron Trump, and their respective spouses, children and
          grandchildren, if any, and Mr. Trump’s siblings and their respective spouses and children, if any.

                     c. “Family Member Company” means any entity, partnership, trust or organization
          that, in whole or in part, was created by or for the benefit of any Family Member or is controlled
          or owned by any Family Member.

                     d. “Non-Compete Cut Off Date” means the date the current U.S presidential
          election cycle is over or, if earlier, the date Mr. Trump announces that he will not run or will no
          longer run for the Presidency of the United States of America in the current U.S. presidential
          election cycle.

                       e. “Non-Solicitation Cutoff Date” means the Non-Compete Cut Off Date.

                     f. “Trump Company” means any entity, partnership, trust or organization that, in
          whole or in part, was created by or for the benefit of Mr. Trump or is controlled or owned by Mr.
          Trump.

                   g. “Trump Person” means each of Mr. Trump, each Family Member, each Trump
          Company (including but not limited to the Company) and each Family Member Company.

                  7.      Remedies for Breach of this Agreement.

                    a. Consent to Injunction. A breach of any of your promises or agreements under this
          agreement will cause the Company, Mr. Trump and each other Trump Person irreparable harm.

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          Accordingly, to the extent permitted by law, and without waiving any other rights or remedies
          against you at law or in equity, you hereby consent to the entry of any order, without prior notice
          to you, temporarily or permanently enjoining you from violating any of the terms, covenants,
          agreements or provisions of this agreement on your part to be performed or observed. Such
          consent is intended to apply to an injunction of any breach or threatened breach.

                      b. Agreement to Indemnify. You hereby agree to indemnify, defend (with counsel
          acceptable to the Trump Person you are defending) and hold harmless each Trump Person from
          and against any claim, demand, suit, proceeding, damages, cost, loss or expense of any kind or
          nature, including but not limited to reasonable attorneys’ fees and disbursements, incurred by
          any Trump Person as a consequence of your breach of any of your promises or agreements in
          this agreement.

                      c. Damages and Other Remedies. Notwithstanding anything to the contrary, each
          Trump Person will be entitled to all remedies available at law and equity, including but not
          limited to monetary damages, in the event of your breach of this agreement. Nothing contained
          in this agreement will constitute a waiver of any Trump Person’s remedies at law or in equity, all
          of which are expressly reserved.

                    d. Third Party Beneficiaries. Mr. Trump and each Family Member, Trump
          Company and Family Member Company is an intended third party beneficiary of this agreement.
          Without limiting the preceding sentence, Mr. Trump, each Family Member, Trump Company
          and Family Member Company, in addition to the Company, will be entitled to the benefit of this
          agreement and to enforce this agreement.

                 8.      Resolution of Disputes.

                     a. Governing Law; Jurisdiction and Venue. This Agreement is deemed to have been
          made in the State of New York, and any and all performance hereunder, breach hereof, or claims
          with respect to the enforceability of this agreement must be interpreted and construed pursuant to
          the laws of the State of New York without regard to conflict of laws or rules applied in the State
          of New York. You hereby consent to exclusive personal jurisdiction and venue in the State of
          New York with respect to any action or proceeding brought with respect to this agreement.

                      b. Arbitration. Without limiting the Company’s or any other Trump Person’s right
          to commence a lawsuit in a court of competent jurisdiction in the State of New York, any dispute
          arising under or relating to this agreement may, at the sole discretion of each Trump Person, be
          submitted to binding arbitration in the State of New York pursuant to the rules for commercial
          arbitrations of the American Arbitration Association, and you hereby agree to and will not
          contest such submissions. Judgment upon the award rendered by an arbitrator may be entered in
          any court having jurisdiction.

                     c. Prevailing Party Fees. Any court judgment or arbitration award shall include an
          award of reasonable legal fees and costs to the prevailing party.



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                     d. Interpretation and Representation by Counsel. This agreement has been drafted
          on behalf of the undersigned only as a convenience and may not, by reason of such action, be
          construed against the undersigned. Each of the parties (i) has had the opportunity to be and/or
          has elected not to be, represented by counsel, (ii) has reviewed each of the provisions in this
          agreement carefully and (iii) has negotiated or has had full opportunity to negotiate the terms of
          this agreement, specifically including, but not limited to Paragraph 7 hereof. You waive any
          claims that may be available at law or in equity to the effect that you did not have the
          opportunity to so consult with counsel.

                      e. No Waiver. Neither the failure or delay to exercise one or more rights under this
          agreement nor the partial exercise of any such right, will be deemed a renunciation or waiver of
          such rights or any part thereof or affect, in any way, this agreement or any part hereof or the right
          to exercise or further exercise any right under this agreement or at law or in equity.

                  9.     Miscellaneous. Modifications. No change or waiver of the terms, covenants and
          provisions of this agreement will be valid unless made in writing and signed by the undersigned.
          Relationship. Nothing herein contained is intended to, nor shall it be construed as, reflecting
          any employer-employee or independent contractor relationship between you and the undersigned
          or any other individual or entity. Counterparts. This agreement may be executed in any number
          of counterparts, all of which taken together will constitute one and same instrument. Delivery of
          an executed signature page of this agreement by facsimile transmission or .pdf, .jpeg, .TIFF, or
          other electronic format or electronic mail attachment will be effective as delivery of an original
          executed counterparty hereof.

                  10.    Survival. This agreement will survive the expiration, cancellation or termination
          of any employment or independent contractor relationship that you may have with the Company
          or with any individual, entity, partnership, trust or organization that the Company has engaged.

                                                        Donald J. Trump for President


                                                        ______________________
                                                        Name:
                                                        Title:

          ________________________________________ ACKNOWLEDGES THAT HE HAS
          READ AND UNDERSTOOD THIS AGREEMENT, AND AGREES TO COMPLY WITH
          THE FOREGOING WHICH CREATES A VALID AND BINDING LEGAL
          OBLIGATION ON HIM.

          __________________________________________
          Printed Name

          Signature:_________________________
          Name: ______________________________________________________
          Address: __________________________________________________________________

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                                AMERICAN ARBITRATION ASSOCIATION


                                COMMERCIAL ARBITRATION TRIBUNAL



                In the Matter of Arbitration Between:

                DONALD J. TRUMP FOR PRESIDENT,                      Case No. 01 -17-0007-6454

                CLAIMANT

                       v.

                JESSICA DENSON,

                RESPONDENT

                                            PARTIAL AWARD

                       I, the Undersigned Arbitrator, having been designated in accordance with the
               arbitration agreement entered into between the above-named parties, and having been duly
               sworn, and having duly read and consider the documents submitted by the parties, do
               hereby, Find and Award, as follows:


                      1. All Procedural History

               This arbitration arises from a written agreement (the "Agreement") between Claimant, as
               employer, and Respondent, as employee. The Agreement provides that it is deemed to have
               been made in the State of New York and that all claims with respect to the enforceability
               of the Agreement must be interpreted and construed pursuant to the laws of the State of
               New York without regard to conflict of laws. The Agreement further provides that the
               employee consents to exclusive personal jurisdiction and venue in the State of New York
               with respect to any action or proceeding brought with respect to the Agreement, and that
               any dispute arising under the Agreement may, at the sole discretion of named parties,
               including Claimant, be submitted to binding arbitration in the State of New York pursuant
               to the rules for commercial arbitrations of the American Arbitration Association.

               Claimant commenced this arbitration by a Demand for Arbitration filed with the American
               Arbitration Association on December 20, 2017. Respondent was served with the Demand
               for Arbitration pursuant to AAA rules. She Has not submitted an answering statement.


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               Consequently, she is deemed to have denied the claim.

               A scheduling conference was held by telephone on May 22, 2018. Claimant appeared by
               counsel. Respondent did not appear although she had been notified of the conference call
               pursuant to AAA rules. At the conference call the following rulings were made by the
               undersigned:
                      "the parties shall submit in writing to the Association any documents pertaining to
                      the arbitration, including a statement of facts together with any briefs, written
                      arguments or other evidence you wish to submit by July 23, 2018."
                      "Each party may file one written reply to the initial submission within 23 days from
                      the date of transmittal of the statements and proofs by the other party(s)."
                      "Failure of any party to make such a reply within a specified period of time is
                      deemed to be a waiver of its right to reply."
                      "When all the statements, proofs, and answers (if any) have been received by the
                      Association, they will be transmitted to the arbitrator."
                      "The arbitrator shall then examine the documents and request further evidence from
                      the party (s), if necessary. Otherwise, the arbitration will be declared closed, and
                      the time. For rendering the award begins on that date."
                      "This is a reminder the arbitration may proceed in the absence of any party who
                      fails to participate or fails to obtain a postponement."
               Respondent was notified of the above rulings by letter from the Association dated May 22,
               2018.

               A second conference call by was held on August 20, 2018. Claimant appeared by counsel.
               Respondent did not appear although she had been notified of the conference call pursuant
               to AAA rules. Following the conference call, the undersigned issued an order which
               provides as follows:
                              "Ordered, that AAA shall immediately serve the Application for an Award
                      on Respondent by regular and certified mail (signature not required); and
                              Ordered, that the parties are required to keep all documents and
                      proceedings in this arbitration confidential pursuant to the rules of the American
                      Arbitration Association; and
                              Ordered, that Respondent shall have 23 days from the date of mailing to
                      submit a response in opposition to the Application for an Award."

               The Order was served upon Respondent by the Association with a letter dated August 20,
               2018.

               Respondent's first appearance in this matter was by a letter dated September 7, 2018 and
               filed with AAA on September 10, 2018, in response to claimant's Application for an


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               Award. The return address on Respondent's letter of September 7, 2018 is the address to
               which all notices and correspondence to her have been sent by AAA since the
               undersigned's appointment as arbitrator in this matter. Respondents letter does not
               contradict any of the factual allegations in the Application for an Award. Respondent's
               letter simply recites "ongoing litigation" and encloses a copy of Justice Bluth' s Decision
               & Order of August 7, 2018 (hereinafter described in detail).

               Respondent has commenced actions relating to her employment by Claimant in the
               Supreme Court of the State of New York, New York County (the "State Action"), and the
               U.S. District Court for the Southern District of New York (the "Federal Action").

               Claimant moved in the State Action to compel arbitration. By Decision & Order dated
               August 7, 2018, Hon. Arlene P. Bluth, J.S.C., denied the motion, holding that the
               arbitration clause in the Agreement confines arbitration to "any dispute arising under or
               relating to this agreement" and that it does not require arbitration for any "dispute between
               the parties" or "any dispute arising out of plaintiff's employment." Justice Bluth further
               held that the agreement requires arbitration on claims relating to a specific list of five
               prohibited acts on Respondent's part: no disclosure of confidential information; no
               disparagement; no competitive services; no competitive solicitation; and no competitive
               intellectual property claims. Justice Bluth held that neither the Agreement nor its arbitration
               provision has any application to the affirmative claims asserted by Respondent in the State
               Action. The Decision in the State Action took no position on the enforceability of any
               provisions of the Agreement insofar as it relates to the five prohibited activities specifically
               listed above. No stay of this arbitration was granted in the State Action.

               In the Federal Action Respondent sought a declaration that the Agreement "is void and
               unenforceable." Claimant moved to compel arbitration. The District Court held by Order
               dated August 30, 2018, that Respondent's claim that "the agreement is void and
               unenforceable" is a "dispute that arises out of the agreement," and is covered by the
               arbitration clause of the Agreement. Claimants motion to compel arbitration was granted
               and the Federal Action was dismissed.

               DISCUSSISON

               Although it does not expressly do so, I will consider Respondent's letter of September 7,
               2018 as raising the the claim that she asserted in the Federal Action, i.e., that the Agreement
               "is void and unenforceable." The District Court held that the validity of the agreement was
               an issue to be decided in this arbitration. Respondent has not submitted any law or argument
               which would support a finding by me that the Agreement "is void and unenforceable." I
               find that the Agreement is valid and enforceable.


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               Claimant's application requests an award: (1) finding that Respondent has breached her
               confidentiality, non-disparagement, and arbitration obligations under the agreement; (2)
               granting Claimant damages in the amount of $84,575.71 representing indemnification for
               the reasonable attorneys' fees and costs Claimant incurred in the state and federal court
               actions; (3) ordering Respondent to account for and disgorge to Claimant the total sum of
               all profits from her GoFundMe page; (4) granting Claimant an award of reasonable
               attorney's fees and costs incurred in this arbitration in an amount to be determined by the
               arbitrator upon a separate application by Claimant; and(5) granting Claimant all such
               further relief as the arbitrator deems proper and necessary. Respondent has had due notice
               of this arbitration and of the Application for an Award. Respondents only submissions in
               this matter are her letter of September 7, 2018 which enclosed a copy of Justice Bluth's
               Decision and Order of August 7, 2018, and a letter dated October 15, 2018 which
               challenges the Agreement as "irrelevant and invalid." The letters do not assert facts
               contradicting the allegations relied upon by Claimant in its Application for an Award.

                                                        AWARD

               I find that the evidence submitted by Claimant on its Application for an Award is
               sufficient for an understanding and determination of the dispute in this arbitration. I find
               that Respondent has breached the Agreement by disclosing, disseminating and publishing
               confidential information in the Federal Action, and by making disparaging statements
               about Claimant and the Agreement on the Internet on her GoFundMe page and on her
               Twitter account. Claimant has been damaged by Respondent's breach in the amount of
               $24,808.20 which I find it reasonably expended to defend the Federal Action commenced
               by Respondent. Claimant is awarded the sum of$24,808.20.

               Claimants demand for damages for legal services in connection with the State Action, in
               the amount of $44,744.71 is denied based upon Justice Bluth's decision holding that the
               issues in that action are not subject to arbitration under the Agreement.

               Claimant's request to disgorge any monies received by Respondent from a GoFundMe
               page is not authorized by New York law or the Agreement and is denied.

               Claimant's request for an award ofreasonable attorney's fees and costs incurred in this
               arbitration is authorized by paragraphs 7 (b) and 8 (c) of the Agreement. That request is
               granted in an amount to be determined by the undersigned upon a separate application by
               Claimant. Claimant shall submit its written application within 20 days of the date of this
               Award. Respondent shall have 20 days after service of the application to submit a written


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               response.

               The parties are reminded that all documents and proceedings in this arbitration are
               confidential pursuant to AAA rules.




               Dated: October 19, 2018                             r-7��...:,
                                                                   i:.'i>au1 Kehoe
                                                                      Arbitrator




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                                                              AMERICAN                      ARBITRATION                              ASSOCIATION



                                                              COMMERCIAL                           ARBITRATION                                TRIBUNAL




                 In     the      Matter               of Arbitration                  Between:
                                                                                                                         :

                 DONALD                       J. TRUMP              FOR        PRESIDENT.                                :              Case         No.     01-17-0007-6454

                 INC.
                                                                                                                         :

                 CLAIMANT                                                                                                :


                                   V.


                 JESSICA                 DENSON,

                 RESPONDENT


                                                                                   FINAL          AWARD


                              I,        the     Undersigned                    Arbitrator,                 having             been         designated               in        accordance          with        the

               agreement                 entered           into     by        the     above         named               parties,            and      having              been      duly      sworn,          and

               having         duly            heard      the proofs            and       allegations              of the           Parties,         and     having            previously          rendered

               an Interim                Award           dated      October              19, 2018           do hereby,                 AWARD,                    as follows:



                                                                             Procedural              History



               By     Partial            Award           dated      October               19,    2018,           I awarded                 Claimant,              represented              by     LaRocca

               Hornik            Rosen           Greenberg              &      Blaha,        LLP,          the      sum        of     $24,808.20                  for     legal     fees     incurred          in

               defending                 an action            brought           by       Respondent,                   self-represented,                     in    the        U.   S. District         Court

               for      the      Southern               District         of    New          York       (the            "Federal             Action").              The         Partial      Award            also

               granted           Claimant               an     award          of     attorney's            fees         and        costs         incurred           in    this     arbitration           in an

               amount            to      be      determined              by        the     undersigned                   upon      a separate     application   by Claimant.
                                                                                                                         attorneys'
               Claimant               has      now       submitted             an application                    for                      fees and costs in this arbitration
                                                                                                                               attorneys'
               as well           as a request                 for   a supplemental                     award             for                  fees incurred   in the Federal

               Action         after           July      23,     2018,         and        legal     fees      it     expects            to        incur      in    connection               with     filing          a

               petition            in        federal       court        to     confirm      the             final            award          in     this     arbitration.                  Respondent's
                                                                                 attorneys'
               response            to the         application            for                           fees         was        due      by November                      28,     2018.     Respondent
                                                                                                                                                                                attorneys'
               has      not   submitted                 a substantive                response          to Claimant's                        application                 for                    fees and

               costs.



                By      letter          to     the     undersigned                  dated        November                    27,     2018          Maury            B.        Josephsoñ,          Esq.,       on



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               behalf          of     Respondent,                          requested                 a stay        of       further              proceedings                  in     this        arbitration                 pending
               the     outcome                  of      an           action           he        commenced                   on        behalf             of     Respondent                       in     New          York           State

               Supreme                Court,               New            York           County            (the      "State            Action").                  In the           State         Action              Respondent

               requested               a preliminary                            injunction                 staying            all     further            proceedings                     in      this        arbitration.                 On

               November                    29,        2018,               Hon.           Arlene            P.     Bluth,             J.S.C.,             denied            Respondent's                         request             for       a

               preliminary                  injunction                     staying              proceedings                 in this              arbitration.



               Attorney              Josephson                       has      not        appeared               generally                  for     Respondent                 in this             arbitration.                   Rather,
               he has          limited            his       appearance                       to notifying                me of the State                         Action            and        requesting                  that     I stay

               all    further              proceedings                        in      this         Arbitration.                The           request             for       a stay           in        this    Arbitration                  is

               denied.



                                                                                                   DISCUSSION


                                                                                                                                                                                           attorneys'
               In determining                        the        amount                to be awarded                     to Claimant                      as reasonable                                                fees        I have

               revicwed               the         contemporaneous                                   time        records               submitted                  and        accept               them           as    anmrately

               stating          the        time            spent           on      this         arbitration.              I also             find        that        the    time         spent               was      reasonable

               under           the     circumstances                             of      this       arbitration               and          that      the        rates       charged               are        commeasarate

               with       those            generally                   charged                in     New          York          City,             where          Claimant's                   attorneys               have          their

               offices.         An adjustment                              in the          total      amount             claimed                  is required     by the fact that                              Claimant                did
                                                                                                                                                       attorneys'
               not     prevail             on        all        claims.            The          amount            requested                      for                 fees,  totaling                                 $23,866.20

               will       be     reduced                   by        15     %       to     reflect          the      fact           that         fewer          attorney            hours              would          have          been

               required              had     the        claims              been          limited          to those            on which                  Claimant             was        ultimately                  successful.



                                                                                                    AWARD

                                                                                                                                attorneys'
               Claimant               is granted                     a supplemental                      award           of                                   fees      and    costs             incurred             or to be

               incurred              in the          Federal               Action               subsequent               to July             23,      2018           in the        amount                of $4,291,85.


                                                                                                                                                                                                        attorneys'
               Claimant               is granted                     an award                in the        amount             of $20,286.27                          as reasonable                                               fees

               in this         arbitration,                  together                 with         expenses             in the             amount             of $121.32,                for          a total        of

               $20,407.59.



               The       administrative                          fees         of the         American                Arbitration                    Association                    totaling             $2,950.00                 and

               the    compensation                          of the            arbitrator               totaling          $8,050.00                   shall        be borne               as incurred.                     These

               fees      are not            subject              to reallocation                       by the           arbitrator.                 (See        footnote,            Commercial

               Arbitration                 Rules,               p.    10)



               This       Final        Award,                   including                 amounts               awarded               in the         Partial           Award,              shall         accrue            interest

               from       the        date        hereof               at 9% per                 annum.




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               The      parties     are     rerninded        that     all   docurñents            and   proccedings           in this   arbitration          are

               confidential          pursuant           to   AAA      rules.                  .



               This     Award        is in full     settlement              of all   claims        submitted        to this    Arbitration.           All   claims   not

               expressly          granted      herein        arehereby           denied.




               Dated:       December            11, 2018,           2018



                                                                                                               L.     Paul     Kehoe           Âr       itrator




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         From:    Patrick Mcpartland pmcpartland@lhrgb.com
       Subject:   RE: Donald J. Trump for President, Inc./Jessica Denson, AAA Case No. 01-19-0000-5505 (the "Second Arbitration")
          Date:   May 29, 2019 at 1:44 PM
            To:   jonathanweed@adr.org
           Cc:    Lawrence Rosen lrosen@lhrgb.com, David Bowles david@lawdkb.com, Maury Josephson mbjlaw@verizon.net


              Good afternoon Mr. Weed,

              In accordance with paragraph 8B of the parties’ arbitration agreement (courtesy
              copy attached), we write to advise that the Campaign does not consent to the
              AAA’s jurisdiction over the Second Arbitration.

              Very truly yours,


              Patrick McPartland, Esq.




              The Trump Building
              40 Wall Street, 32nd Floor
              New York, NY 10005
              T: (212) 530-4837
              C: (917) 647-4094
              F: (212) 530-4815
              E: PMCPARTLAND@LHRGB.COM

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              -------------------------------------------------------------------------------------
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              recipient should check this email and any attachments for the presence of viruses. The company accepts no liability for any damage caused by any
              virus transmitted by this email.



              From: Patrick Mcpartland
              Sent: Wednesday, May 22, 2019 3:07 PM
              To: jonathanweed@adr.org
              Cc: Lawrence Rosen <lrosen@lhrgb.com>; 'David Bowles' <david@lawdkb.com>; Maury
              Josephson <mbjlaw@verizon.net>
              Subject: Donald J. Trump for President, Inc./Jessica Denson, AAA Case No. 01-19-
              0000-5505 (the "Second Arbitration")

              Good afternoon Mr. Weed,

              We write in furtherance of our March 18, 2019 correspondence (courtesy copy
              attached) wherein the Campaign expressly reserved its contractual right to not
              consent to the AAA’s jurisdiction over the Second Arbitration. This right, which is in
              the “sole discretion” of the Campaign, is set forth in paragraph 8B of the subject
              Agreement (courtesy copy attached).
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           We are aware of Judge Kehoe’s recent decision and order concerning the
           Campaign’s application to dismiss the Second Arbitration. We intend to discuss this
           with our client and expect to be able to notify the AAA by next Wednesday or
           Thursday whether the Campaign will or will not consent to the AAA’s jurisdiction
           over the Second Arbitration.

           Thank you,

           Patrick McPartland, Esq.




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           ! Please, don't print if you don't have to.
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            Jessica Denson
            NDA -…ted.pdf
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                       EXHIBIT F
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          UNITED STATES DISTRICT COURT
          SOUTHERN DISTRICT OF NEW YORK
          -------------------------------------------------------------------X
          JESSICA DENSON,
                                                                                 Civil Action No.
                                             Plaintiff,                          18-cv-2690 (JMF)

                    -against-

          DONALD J. TRUMP FOR PRESIDENT, INC.,

                                             Defendant.
          -------------------------------------------------------------------X




                                  DEFENDANT'S MEMORANDUM IN RESPONSE
                                TO PLAINTIFF'S SUPPLEMENTAL MEMORANDUM




                                                                    LAROCCA HORNIK ROSEN
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FILED: NEW YORK COUNTY CLERK 06/01/2020 09:48 AM                                                              INDEX NO. 652131/2020
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                  In accordance with Your Honor's May 29, 2019 Order (the "May 29th Order"), defendant

         Donald J. Trump for President, Inc. (the "Campaign"), by its attorneys LaRocca Hornik Rosen &

         Greenberg LLP, respectfully submits this memorandum in response to the supplemental

         memorandum filed by plaintiff on May 30, 2019 (the "Supplemental Memorandum") and the letter

         filed by plaintiff on May 31, 2019 (the "May 31 st Letter").


                                              PRELIMINARY STATEMENT

                  In its May 29th Order, this Court granted plaintiff leave to file a limited supplemental

         memorandum, but stated that it would "consider the supplemental filing only to the extent that it

         addresses factual developments that post-date the prior briefing."                    ECF Doc. 46.         Because

         plaintiffs Supplemental Memorandum fails to identify or address any new factual developments

         bearing on the parties' sub judice motions, it should be disregarded in its entirety. ECF Doc. 48.

                  As for the May 31 st Letter, plaintiff never requested, nor was she granted, leave to make

         this additional filing and, for this reason alone, it should be disregarded. ECF Doc. 49. Regardless,

         the May 31 st Letter likewise fails to raise any new facts that are germane to the parties' motions.


                                                           ARGUMENT

                                           PLAINTIFF'S SUPPLEMENTAL
                                        FILINGS SHOULD BE DISREGARDED

                  Plaintiffs Supplemental Memorandum raises only additional legal arguments that plaintiff

         could have asserted in her underlying cross-motion (which was fully briefed and submitted to this

         Court for determination more than four months ago).                      ECF Doc. 48.          The Supplemental

         Memorandum fails to raise any new facts and should be disregarded in its entirety. 1




         1
           Plaintiff makes a cryptic reference to a book published by Cliff Sims, but fails to articulate how this book, or any
         response to it, correlates to the parties' pending motions.
                                                                     1
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                Having disregarded this Court's May 29 Order by failing to assert any new facts in her

         Supplemental Memorandum, on May 31 plaintiff took the liberty of filing an additional letter-

         without first seeking leave of the Court-in which she purports to advise the Court of a "factual

         development" concerning a separate "class action" lawsuit that plaintiff filed against the Campaign

         with the AAA. ECF Doc. 49. Under the terms of the parties' written agreement, however, the

         Campaign is afforded the discretionary right to arbitrate (or not arbitrate) that class action before

         the AAA. The Campaign simply exercised its election rights in this regard and notified the AAA

         that it was declining to arbitrate that claim. In any event, the permitted exercise of this discretion

         by the Campaign has absolutely no bearing on the parties' pending motions. Indeed, it simply

         means that if plaintiff wants to proceed with a class action lawsuit, she must file her purported

         claims in court, rather than with the AAA.


                                                   CONCLUSION

                For these reasons (and the reasons set forth in the Campaign's underlying motion papers),

         the Campaign respectfully requests that the Court grant its motion to confirm the arbitral awards

         that Judge Kehoe of the AAA issued in its favor.


         Dated: New York, New York
                June 3, 2019




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                                                           2
